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                                   UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 9
      UNITED STATES OF AMERICA,
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                           Plaintiff,
11                                                             CASE NO. CR05-0167C
             v.
12                                                             ORDER
      JESSE BECERRIL MONTES,
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                           Defendant.
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            THE COURT having considered the stipulation of the parties to extend the due date of
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     the pretrial motions, the affidavit of defense counsel Robert H. Gombiner in support of the
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     stipulation, and the records and files herein, the Court hereby makes the following findings:
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            1.     The Court finds that a failure to grant a continuance would deny counsel the
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     reasonable time necessary for effective preparation, taking into account the exercise of due
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     diligence, within the meaning of 18 U.S.C. § 3161(h)(8)(B)(ii).
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            2.     The Court further finds that the ends of justice will be served by ordering a
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     continuance in this case and that a continuance is necessary to insure effective trial preparation.
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26   ORDER – 1
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 1          IT IS THEREFORE ORDERED that the time within which pretrial motions must be filed

 2   in this case is extended from May 26, 2005, to June 9, 2005. This continuance balances the

 3   need expressed by counsel and the current trial schedule in this case.

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 5          DONE this 24th day of May, 2005.

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                                                      UNITED STATES DISTRICT JUDGE
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26   ORDER – 2
